Case 4:21-cv-00948-ALM-CAN Document 32 Filed 03/10/22 Page 1 of 1 PageID #: 180




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

  KEITH V. OTTO,                                  §
                                                  §
                Plaintiff,                        §   CIVIL ACTION NO. 4:21-CV-00948-ALM-
  v.                                              §                 CAN
                                                  §
  COLLIN COLLEGE,                                 §
                                                  §
                Defendant.                        §

                                             ORDER

        The Court sets this matter for a telephonic status conference on Tuesday, May 10, 2022, at

 1:00 p.m. The Court provides participants with the teleconference call-in information, as follows:

        ATT Toll-Free Conference Number: 877-336-1839

        Access Code: 5754049, followed by #

        Participants are directed to call this number no later than 12:55 p.m.

        IT IS SO ORDERED.

         SIGNED this 10th day of March, 2022.




                                    ___________________________________
                                    Christine A. Nowak
                                    UNITED STATES MAGISTRATE JUDGE




 ORDER – Page Solo
